            Case 2:13-cr-00227-DAD Document 118 Filed 07/20/15 Page 1 of 3


     Timothy E. Warriner (SB#166128)
1    Attorney at Law
     428 J St., Suite 350
2    Sacramento, CA 95814
     (916) 443-7141
3
     Attorney for defendant,
4    Francisco Arrellanez
5
                            UNITED STATES DISTRICT COURT
6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                   ) Case No. 13-CRS-227 GEB
     UNITED STATES OF AMERICA,      )
9                                   ) STIPULATION AND ORDER
              Plaintiff,            ) CONTINUING STATUS
10                                  ) CONFERENCE AND EXCLUDING
         vs.                        ) TIME
11                                  )
     FRANCISCO ARRELLANEZ., et al., )
12                                  )
              Defendants.           )
13

14         Plaintiff, United States of America, by and through its counsel of record, and
15
     Defendants, by and through their counsel of record, hereby stipulate as follows:
16
        1. By previous order, this case was set for a Status Conference to be held on
17

18         July 17, 2015.
19      2. By this stipulation, all the undersigned Defendants agree to continue the
20
           Status Conference to October 23, 2015, at 9:00 a.m. The parties stipulate to
21

22         exclude time until October 23, 2015, under Local Code T4. Plaintiff does not

23         oppose this request.
24
        3. The parties agree, stipulate, and request that the Court find the following:
25

26

                                               1
     Case 2:13-cr-00227-DAD Document 118 Filed 07/20/15 Page 2 of 3



1
      a. The undersigned defense counsel continue to need time to review

2        discovery, continue to conduct investigation, and to otherwise prepare
3
         for trial, or alternatively, resolution by way of written plea agreement.
4
      b. Counsel for Defendants believe that failure to grant the above-
5

6        requested continuance would deny them the reasonable time necessary
7
         for effective preparation, taking into account the exercise of due
8
         diligence.
9

10    c. Due to the need for attorney preparation, the ends of justice served by
11
         continuing the case as requested outweigh the interest of the public
12
         and the defendants in a criminal trial within the time prescribed by the
13

14       Speedy Trial Act.
15
      d. For the purpose of computing time under the Speedy Trial Act, 18
16
         U.S.C. § 3161, et seq., within which trial must commence, the time
17

18       until October 23, 2015, is deemed excludable pursuant to 18 U.S.C. §

19       3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
20
         continuance granted by the Court at defendants’ request on the basis
21

22       of the Court’s finding that the ends of justice served by taking such

23       action outweigh the best interest of the public and the defendant in a
24
         speedy trial.
25

26

                                      2
           Case 2:13-cr-00227-DAD Document 118 Filed 07/20/15 Page 3 of 3



1
       4. Nothing in this stipulation and order shall preclude a finding that other

2         provisions of the Speedy Trial Act dictate that additional time periods are
3
          excludable from the period within which a trial must commence.
4
       IT IS SO STIPULATED
5

6    DATED: July 16, 2015                         /s/ Timothy E. Warriner, Attorney for
                                                  Defendant, Francisco Arrellanez
7

8    DATED: July 16, 2015                         /s/ Dina L. Santos for Defendant,
                                                  Jovanny Arellanes
9

10   DATED: July 16, 2015                         /s/ Richard Dudek, Attorney for
                                                  Defendant, Efrain Padilla Pena
11

12   DATED: July 16, 2015                         /s/ Todd Pickles, Assistant
                                                  U.S.Attorney
13

14
     IT IS SO ORDERED. Dated: July 17, 2015
15

16

17

18

19

20

21

22

23

24

25

26

                                              3
